Case 3:22-cv-02855-ZNQ-DEA Document 19 Filed 08/30/22 Page 1 of 15 PageID: 162




 STEPHANIE L. SILVANO (Bar No. 168182016)                    Motion Day: September 6, 2022
 ssilvano@gibsondunn.com
 GIBSON, DUNN & CRUTCHER LLP
 200 Park Avenue, 47th Floor
 New York, New York 10166
 Telephone: 212.351.4000

 TIMOTHY W. LOOSE (pro hac vice pending)
 tloose@gibsondunn.com
 GIBSON, DUNN & CRUTCHER LLP
 333 South Grand Avenue
 Los Angeles, CA 90071-3197
 Telephone: 213.229.7746

 Attorneys for Defendant Nestlé Healthcare Nutrition, Inc.

                            UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW JERSEY

 STEVEN OWEN, individually, and on behalf
 of all others similarly situated,
                                                   Civil Action No.
                       Plaintiff,                  3:22-cv-02855-ZNQ-DEA

        v.                                         Document Electronically Filed
 NESTLÉ HEALTHCARE NUTRITION,                      MOTION DAY: September 6, 2022
 INC.,
                                                   ORAL ARGUMENT REQUESTED
                       Defendant.


               DEFENDANT NESTLÉ HEALTHCARE NUTRITION, INC.’S
             REPLY IN SUPPORT OF ITS MOTION TO TRANSFER OR STAY
                         UNDER THE FIRST-FILED RULE
Case 3:22-cv-02855-ZNQ-DEA Document 19 Filed 08/30/22 Page 2 of 15 PageID: 163


                                               TABLE OF CONTENTS

                                                                                                                                  Page

 I.     INTRODUCTION ...............................................................................................................1

 II.    ARGUMENT .......................................................................................................................2

        A.        The First-Filed Rule Applies. ..................................................................................2

        B.        Transfer Is the Most Appropriate Remedy in This Case. ........................................6

        C.        In the Alternative, the Court Should Stay This Action. .........................................10

 III.   CONCLUSION ..................................................................................................................10




                                                                  i
Case 3:22-cv-02855-ZNQ-DEA Document 19 Filed 08/30/22 Page 3 of 15 PageID: 164


                                              TABLE OF AUTHORITIES

                                                                                                                           Page(s)


 Cases

 Am. Inst. for History Educ., LLC v. E–Learning Sys. Int’l LLC,
    2010 WL 4746233 (D.N.J. Nov. 16, 2010) ...............................................................................9

 Catanese v. Unilever,
    774 F. Supp. 2d 684 (D.N.J. 2011) ............................................................................3, 4, 6, 8, 9

 Chavez v. Dole Food Co., Inc.,
    836 F.3d 205 (3d Cir. 2016).............................................................................................2, 6, 10

 E.E.O.C. v. Univ. of Pennsylvania,
    850 F.2d 969 (3d Cir. 1988)...............................................................................................4, 5, 9

 Employees’ Ret. Sys. of City of St. Petersburg, Fla. v. Teva Pharm. Indus. Ltd.,
   2019 WL 5485549 (E.D. Pa. Oct. 8, 2019)................................................................................7

 Franceski v. Freedom Mortg. Corp.,
    2019 WL 2636740 (D.N.J. June 27, 2019) ................................................................................7

 Hall v. Welch Foods, Inc.,
    2017 WL 4422418 (D.N.J. Oct. 5, 2017)...............................................................................4, 8

 Jumara v. State Farm Ins. Co.,
    55 F.3d 873 (3d Cir. 1995)...................................................................................................8, 10

 Kowalski v. YellowPages.com, LLC,
    2010 WL 3323749 (D.N.J. Aug. 18, 2010) ...............................................................................9

 MacLean v. Wipro Ltd.,
   2020 WL 7090746 (D.N.J. Dec. 4, 2020) ..................................................................................2

 RB Restoration, Inc. v. Mosaic, Terrazzo & Chem. Prod. Decorative Finisher
    Masons Workers Ass’n Loc. No. 7 of New York & Vicinity of Int’l Union of
    Bricklayers & Allied Craftworkers,
    2022 WL 557852 (D.N.J. Feb. 24, 2022) ..............................................................................7, 8

 Santomenno v. Transamerica Life Ins. Co.,
    2012 WL 1113615 (D.N.J. Mar. 30, 2012)................................................................................9

 Thompson v. Glob. Mktg. Rsch. Servs., Inc.,
    2016 WL 233702 (E.D. Pa. Jan. 20, 2016) ............................................................................4, 9

 Violet Pot, LLC v. Lowe’s Companies, Inc.,
    2007 WL 894187 (D.N.J. Mar. 20, 2007)..................................................................................5


                                                                  ii
Case 3:22-cv-02855-ZNQ-DEA Document 19 Filed 08/30/22 Page 4 of 15 PageID: 165
                          TABLE OF AUTHORITIES
                                (continued)

                                                                                                                                   Page(s)

 Worthington v. Bayer Healthcare, LLC,
   2012 WL 1079716 (D.N.J. Mar. 30, 2012) ........................................................................3, 4, 5

 Statutes

 28 U.S.C. § 1404 ..................................................................................................................1, 6, 7, 8




                                                                     iii
Case 3:22-cv-02855-ZNQ-DEA Document 19 Filed 08/30/22 Page 5 of 15 PageID: 166




                                    I.       INTRODUCTION

        Owen concedes that he and the plaintiffs in Horti v. Nestlé Healthcare Nutrition, Inc., No.

 4:21-cv-09812 (N.D. Cal.), “essentially allege” the same thing. Opp. at 2. Owen also admits that

 the Horti plaintiffs filed their complaint nearly five months before he filed this action. Id. at 3–4.

 Nevertheless, Owen insists the first-filed rule does not apply because there are supposedly “key

 differences” between his case and Horti. Id. at 1. But the only differences Owen identifies are

 that his claims involve different state law and that his putative nationwide class is broader than the

 class in Horti. See id. at 6–7. As several courts have held, neither difference is a valid reason for

 avoiding application of the first-filed rule. Mot. at 6–9. Owen offers no persuasive reason why

 this Court should depart from the line of authority—or common sense—that warrants transfer to

 avoid duplication of effort, prevent a waste of resources, and eliminate the potential for conflicting

 rulings regarding the same legal theories impacting overlapping putative class members.

        Faced with this straightforward application of the first-filed rule, Owen attempts to pivot

 by raising arguments under 28 U.S.C. § 1404(a). As the cases make clear, the section 1404(a)

 analysis is a separate consideration from the first-filed rule, and a court may transfer a case under

 the first-filed rule without considering the traditional section 1404(a) factors. But even if the Court

 were to consider the section 1404(a) argument, the answer would be the same. This nationwide

 class action could have been brought in the Northern District of California, and all of the section

 1404(a) factors weigh in favor of transfer to the first-filed district. Owen’s arguments to the

 contrary would render the first-filed rule a nullity by allowing duplicative class actions to proceed

 in different courts so long as the second (and third, and fourth) filers come up with creative ways

 to gerrymander the putative class.




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Case 3:22-cv-02855-ZNQ-DEA Document 19 Filed 08/30/22 Page 6 of 15 PageID: 167




         Owen’s claims largely parrot the Horti complaint, advance the same theories, and are

 brought on behalf of overlapping classes. There is no reason for the cases to proceed separately,

 and Owen’s claims should be transferred to the Northern District of California to be decided

 alongside the first-filed Horti action. In the alternative, if this Court declines to transfer, Nestlé

 requests that the Court stay this case pending final resolution of Horti.

                                     II.        ARGUMENT

     A. The First-Filed Rule Applies.

         Under the first-filed rule, “when duplicative lawsuits are filed successively in two different

 federal courts, the court where the action was filed first has priority.” Chavez v. Dole Food Co.,

 Inc., 836 F.3d 205, 210 (3d Cir. 2016). To determine whether the first-filed rule applies, courts

 look to “the chronology of the actions,” as well as whether the actions involve overlapping “subject

 matter,” “issues,” “claims,” and “parties.” MacLean v. Wipro Ltd., 2020 WL 7090746, at *5

 (D.N.J. Dec. 4, 2020). Each of these factors weighs in favor of application of the first-filed rule

 in this case.

         First, Owen does not dispute that the chronology of the actions supports application of the

 first-filed rule. The Horti plaintiffs filed their complaint nearly five months before Owen filed his

 complaint, the Horti court has granted Nestlé’s first motion to dismiss, and the parties have already

 begun briefing a second motion to dismiss. Opp. at 2–4; Mot. at 2–3. Owen tries to minimize

 these facts by pointing out that the parties in Horti have not yet engaged in any discovery and the

 court’s involvement has been limited to ruling on Nestlé’s first motion to dismiss. Opp. at 4. But

 if anything, those facts weigh in favor of transfer, as they suggest that Owen’s complaint and the

 third amended Horti complaint could be resolved together on the pleadings. And if the cases are

 not resolved on a motion to dismiss, then it makes most sense for them to proceed to discovery

 together, with one set of requests pending before one Court.


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Case 3:22-cv-02855-ZNQ-DEA Document 19 Filed 08/30/22 Page 7 of 15 PageID: 168




        Second, the shared subject matter and issues in the two cases weigh in favor of applying

 the first-filed rule. As Owen concedes, he and the Horti plaintiffs “essentially allege” the same

 theories relating to Nestlé’s BOOST Glucose Control drink labels. Opp. at 2. Nor could Owen

 contend otherwise; his complaint contains many allegations that are identical or nearly identical to

 those in the Horti complaint. See Mot. at 4–5. Accordingly, the shared subject matter in the two

 complaints—“the most important consideration in a first-filed rule analysis,” Catanese v. Unilever,

 774 F. Supp. 2d 684, 687 (D.N.J. 2011)—weighs in favor of applying the first-filed rule.

        Third, similarity between the legal claims supports application of the first-filed rule. When

 examining the similarity between legal claims, the claims and allegations need not be literally

 identical; rather, “overlapping subject matter is the key.” Catanese, 774 F. Supp. 2d at 689. Owen

 admits as much, noting that both actions “essentially allege that the labeling on [Nestlé’s] BOOST

 Glucose Control product line is false and misleading.” Opp. at 2. And both the Horti complaint

 and Owen’s complaint assert claims for breach of consumer-protection laws and unjust enrichment

 based on these same factual allegations. Mot. at 6–7.1 These mirror-image claims confirm that

 the two actions concern overlapping subject matter.

        Despite the similar subject matter and legal theories, Owen says the claims in the two cases

 are different because the Horti plaintiffs’ claims arise under California law while his arise under

 New Jersey law. Opp. at 6–7. But courts in this District have repeatedly rejected plaintiffs’

 attempts to dodge application of the first-filed rule simply because the second-filed complaint

 raises claims that “are brought under different state laws.” Worthington v. Bayer Healthcare, LLC,



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     Like Owen, the Horti plaintiffs also initially brought a claim for breach of warranty. See No.
     4:21-cv-09812, Dkt. 11 (Feb. 4, 2022) ¶¶ 149–60. That claim was dropped following the
     court’s dismissal of the second amended complaint. The mere fact that the Horti plaintiffs
     made a strategic choice to abandon one of their claims, however, does not mean these two
     actions deal with distinct subject matter.

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Case 3:22-cv-02855-ZNQ-DEA Document 19 Filed 08/30/22 Page 8 of 15 PageID: 169




 2012 WL 1079716, at *6 (D.N.J. Mar. 30, 2012); see also Hall v. Welch Foods, Inc., 2017 WL

 4422418, at *5 (D.N.J. Oct. 5, 2017); Catanese, 774 F. Supp. 2d at 689. Owen does not address,

 let alone distinguish, any of these cases, all of which were discussed in Nestlé’s motion. Mot at

 6–7. Regardless of what state law is at issue, the Horti court’s ruling bears directly on this case

 because it addresses the question whether Nestlé’s product labels are deceptive—the key element

 for all of Owen’s claims, see Compl. ¶¶ 43–73. While laws in California and New Jersey may

 differ somewhat, Nestlé’s product labels do not become any more or less deceptive when they

 cross state lines.

         Fourth, there is “sufficient overlap of the parties and classes” between Horti and this case

 to warrant application of the first-filed rule. Worthington, 2012 WL 1079716, at *6. Here, Owen

 seeks to represent a nationwide class of all consumers who purchased BOOST Glucose Control

 nutritional drinks. Compl. ¶ 34. Owen argues that his putative class is “far broader” than the

 putative class that the Horti plaintiffs seek to represent (Opp. at 4), but that does not weigh against

 transfer because his nationwide class would necessarily include all of the California and New York

 putative class members in Horti. Other courts in this District have applied the first-filed rule

 where, as here, a “putative nationwide class . . . encompasses” a smaller class of plaintiffs asserting

 similar claims in another action. Hall, 2017 WL 4422418, at *5. And some courts in the Third

 Circuit have gone further, applying the first-filed rule where there is no overlap between classes

 so long as “the subject matter of the two cases is substantially the same.” Thompson v. Glob. Mktg.

 Rsch. Servs., Inc., 2016 WL 233702, at *3 (E.D. Pa. Jan. 20, 2016). Again, Owen does not attempt

 to distinguish these cases, which make clear that he cannot avoid application of the first-filed rule

 simply because he pleaded a broader class than the plaintiffs did in Horti.




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Case 3:22-cv-02855-ZNQ-DEA Document 19 Filed 08/30/22 Page 9 of 15 PageID: 170




         Fifth, none of the “rare” exceptions “justifying departure from the first-filed rule” are

 present in this case. E.E.O.C. v. Univ. of Pennsylvania, 850 F.2d 969, 972 (3d Cir. 1988). Owen

 suggests that Nestlé somehow engaged in “forum shopping,” but the suggestion is amusing: Nestlé

 did not choose to be sued in California first, nearly five months before Owen’s counsel decided to

 file this action. See Opp. at 7–9. Owen’s counsel’s decision to bring this case in New Jersey while

 knowing that an action had been pending in California, and opposing the most efficient course of

 action to have both cases heard in the same place, demonstrates that Owen’s suggestion of forum-

 shopping is misplaced. There is an exception to the first-filed rule for forum shopping, but this

 case isn’t it. The forum shopping exception “targets a situation where the defendant, who knows

 it will be sued, acts quickly and files a declaratory judgment action in a favorable forum.”

 Worthington, 2012 WL 1079716, at *8. The exception does not apply where, as here, another

 plaintiff filed the first action. Id. “It cannot be said . . . that [Nestlé] chose to be sued in California”

 rather than New Jersey, so Owen’s accusation of forum shopping does not prevent application of

 the first-filed rule. Id.2

         Finally, Owen argues that transfer should be denied because application of the first-filed

 rule is purely discretionary. Opp. at 4–5. This, again, supports transfer because there is good

 reason for the Court to exercise its discretion to avoid inefficiency, conserve judicial resources,

 and have this case proceed along with an identical litigation that is more procedurally advanced.

 Moreover, the Third Circuit has made clear that “invocation of the rule will usually be the norm,

 not the exception” and courts “must be presented with exceptional circumstances before exercising

 their discretion to depart from the first-filed rule.” E.E.O.C., 850 F.2d at 979. “The party opposing



 2
     Contrary to Owen’s suggestion (Opp. at 8–9), the timing of Nestlé’s motion does not change
     this conclusion. Nestlé filed its request for a pre-motion conference four weeks before its
     responsive pleading deadline. Dkt. 9, 10.

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Case 3:22-cv-02855-ZNQ-DEA Document 19 Filed 08/30/22 Page 10 of 15 PageID: 171




 the application of the first-filed rule has the burden of showing that special circumstances should

 bar its application.” Violet Pot, LLC v. Lowe’s Companies, Inc., 2007 WL 894187, at *3 (D.N.J.

 Mar. 20, 2007). Owen has shown no special circumstances that would justify departure from the

 rule.

         In sum, all of the factors weigh in favor of transfer. Owen has conceded that his copycat

 complaint “essentially alleges” the same thing as the first-filed action, Opp. at 2, which is “the

 most important consideration in a first-filed rule analysis,” Catanese, 774 F. Supp. 2d at 687. All

 of Owen’s attempts to raise technicalities fall flat, and have been rejected by the cases Nestlé

 cited—cases the opposition ignores. In the interests of fairness and judicial economy, this Court

 should apply the first-filed rule and transfer this action to the Northern District of California.

 B. Transfer Is the Most Appropriate Remedy in This Case.

         “If a second-filed court decides to invoke the [first-filed] rule, it . . . has the discretion to

 decide whether to stay, transfer, or dismiss the case before it.” Chavez, 836 F.3d at 210. Transfer

 to the Northern District of California is the most appropriate remedy here because it would avoid

 needless inefficiencies and the risk of inconsistent judgments by consolidating Owen’s claims with

 the nearly identical claims at issue in Horti. See Mot. at 11–12.

         Owen contends that transfer is inappropriate because the requirements for transfer under

 28 U.S.C. 1404(a) are not satisfied. Section 1404(a) is a separate analysis, and its requirements

 are independent from the considerations under first-filed rule—a test that has been satisfied for the

 reasons articulated above. Owen cannot avoid transfer by pointing to a different legal test. Even

 if the Court were to consider the requirements of section 1404(a) for the sake of argument, they all

 would be easily satisfied because this nationwide class action could have been brought in the




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Case 3:22-cv-02855-ZNQ-DEA Document 19 Filed 08/30/22 Page 11 of 15 PageID: 172




 Northern District of California, and because public and private interests weigh heavily in favor of

 transfer.

         First, while some courts have considered transfer under both the first-filed rule and section

 1404(a) (Opp. at 9–10), more recent cases from courts in this District make clear that “the Court

 need not consider the propriety of transfer under the applicable [section 1404(a)] factors” when

 transferring under the first-filed rule. RB Restoration, Inc. v. Mosaic, Terrazzo & Chem. Prod.

 Decorative Finisher Masons Workers Ass’n Loc. No. 7 of New York & Vicinity of Int’l Union of

 Bricklayers & Allied Craftworkers, 2022 WL 557852, at *7 (D.N.J. Feb. 24, 2022). That is so

 because “courts in the Third Circuit have consistently held that a finding that the first-filed rule is

 applicable alone is sufficient to support transfer.” Franceski v. Freedom Mortg. Corp., 2019 WL

 2636740, at *5 (D.N.J. June 27, 2019) (emphasis added); see also Employees’ Ret. Sys. of City of

 St. Petersburg, Fla. v. Teva Pharm. Indus. Ltd., 2019 WL 5485549, at *6 (E.D. Pa. Oct. 8, 2019)

 (finding that “transfer is proper under the first-filed rule” and considering section 1404(a) only

 “[i]n the alternative”). This Court may transfer based on of the first-filed rule alone without

 considering the requirements of section 1404(a).

         Second, even if section 1404(a) did apply, it would permit transfer of this nationwide class

 action to the Northern District of California. Notwithstanding Owen’s characterization of his

 complaint as one brought by “a New Jersey resident who has brought a cause of action . . . based

 on facts that arose in New Jersey,” Opp. at 11, he does not bring an individual action about a local

 controversy. Instead, he seeks to bring all domestic sales of BOOST drinks into question, and

 seeks to represent “all persons in the United States” who bought BOOST Glucose Control

 nutritional drinks, Compl. ¶ 34. This kind of nationwide class action could have been brought in

 California, as reflected by the fact that Horti was first filed there. The mere fact that Owen lives




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Case 3:22-cv-02855-ZNQ-DEA Document 19 Filed 08/30/22 Page 12 of 15 PageID: 173




 in New Jersey does not weigh against transfer when the claims he seeks to bring are based on

 nationwide allegations.

         Owen’s argument would only encourage creative pleading, and would render the first-filed

 rule a nullity. Under Owen’s interpretation, a court could not transfer a nationwide class action

 under the first-filed rule unless the class representative could have brought individual claims in the

 transferee court. See Opp. at 11. This would allow plaintiffs to bring copycat complaints and

 avoid transfer simply by pleading a class with a representative who could not bring individual

 claims in the same court as the first-filed action. This interpretation is not only illogical, it directly

 conflicts with Hall, where the court transferred to New York a class action brought by a New

 Jersey resident against a New Jersey company based on purchases made in New Jersey. 2017 WL

 4422418, at *1. If the Court adopted Owen’s theory, the transfer in Hall would have been

 impossible, and “the purpose of the [first-filed] rule would be defeated. There would be nothing

 to stop plaintiffs in all 50 states from filing separate nationwide class actions based upon their own

 state’s law.” Catanese, 774 F. Supp. 2d at 689. This Court shouldn’t sanction such an end run

 around the first-filed rule.

         Finally, all of the factors considered in the section 1404 transfer analysis are satisfied. To

 determine whether transfer is appropriate under section 1404, a court must consider “all relevant

 factors,” including both private and public interests. Jumara v. State Farm Ins. Co., 55 F.3d 873,

 879–80 (3d Cir. 1995).

         The private interests weigh in favor of transfer here. While Owen leans heavily on his own

 choice of forum, see Opp. at 13, “that choice is entitled to essentially no deference in this case

 because of the first filed [Horti] Action.” RB Restoration, 2022 WL 557852, at *7. Put simply,

 Owen’s forum preferences bear no weight given that he didn’t file until nearly five months after




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Case 3:22-cv-02855-ZNQ-DEA Document 19 Filed 08/30/22 Page 13 of 15 PageID: 174




 the Horti plaintiffs. Even in the absence of a first-filed action, Owen’s forum choice in a

 nationwide class action still would be “accorded less deference because the potential members of

 the class will likely be scattered across the United States.” Santomenno v. Transamerica Life Ins.

 Co., 2012 WL 1113615, at *5 (D.N.J. Mar. 30, 2012); see also Kowalski v. YellowPages.com,

 LLC, 2010 WL 3323749, at *9 (D.N.J. Aug. 18, 2010) (“Courts have consistently held that the

 weight accorded to a plaintiff’s choice of forum is considerably reduced in class actions.”). By

 contrast, Nestlé has a substantial and legitimate interest in consolidating Owen’s copycat claims

 with the ongoing Horti litigation.

        Nor does Owen’s argument regarding the “location of books” hold up to scrutiny. Opp. at

 14. Owen’s “involvement is limited to purchasing” the BOOST drinks, and he “will have little, if

 any, documentary evidence to contribute.” Catanese, 774 F. Supp. 2d at 690. With respect to

 Nestlé, like most companies, many of its records are kept in electronic format, and there is no

 physical location where discovery “of books” will take place. It would be inefficient to require

 Nestlé “to defend identical actions on opposite ends of the country,” which will cause “duplication

 of a large amount of discovery and documentary evidence.” Id.

        Public factors similarly weigh in favor of transfer. There is a “strong policy favoring the

 litigation of related claims before the same tribunal.” Thompson, 2016 WL 233702, at *5; Am.

 Inst. for History Educ., LLC v. E–Learning Sys. Int’l LLC, 2010 WL 4746233, at *3 (D.N.J. Nov.

 16, 2010) (“Courts in this Circuit have frequently held that the pendency of a related or similar

 case in another forum is a powerful reason to grant a motion for a change of venue.”). Transfer of

 Owen’s complaint would “avoid burdening the federal judiciary and . . . prevent the judicial

 embarrassment of conflicting judgments” by allowing the Northern District of California to

 simultaneously consider both the first-filed Horti complaint as well as Owen’s nearly identical




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Case 3:22-cv-02855-ZNQ-DEA Document 19 Filed 08/30/22 Page 14 of 15 PageID: 175




 claims. E.E.O.C., 850 F.2d at 977. Transfer would also make resolution of this case “expeditious”

 given that the Horti court has already heard argument and decided key issues related to the alleged

 deceptiveness of the BOOST Glucose Control drink labels. Jumara, 55 F.3d at 879. Thus, whether

 or not this Court applies the section 1404(a) factors, transfer is the most appropriate remedy here.

 C. In the Alternative, the Court Should Stay This Action.

        If the Court does not transfer this action, Nestlé requests that the Court stay this case

 pending final resolution of Horti. A stay would “avoid wasted judicial efforts, conflicting

 judgments, and unnecessary friction between courts.” Chavez, 836 F.3d at 220. The Northern

 District of California has already considered the merits of claims almost identical to Owen’s and

 will soon be considering Nestlé’s second motion to dismiss. There is no reason for this Court to

 rush to reach a potentially conflicting decision.

        Staying this action would not harm Owen, whose claims would be preserved in this

 Court—a fact Owen does not dispute in his opposition. See Opp. at 15–16. But denying a stay

 would harm Nestlé, as it would be required to litigate duplicative lawsuits in two different courts

 and face potentially conflicting rulings regarding the same product labels and same putative class

 members. Accordingly, if the Court declines to transfer these proceedings, it should enter a stay.

                                   III.        CONCLUSION

        Nestlé respectfully requests that the Court transfer this action to the Northern District of

 California or, in the alternative, stay this action pending final resolution of the Horti action.



 DATE: August 30, 2022                          Respectfully submitted,
                                                GIBSON, DUNN & CRUTCHER LLP
                                                By: s/ Stephanie L. Silvano
                                                    STEPHANIE L. SILVANO
                                                      (SBN168182016)



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Case 3:22-cv-02855-ZNQ-DEA Document 19 Filed 08/30/22 Page 15 of 15 PageID: 176




                                          ssilvano@gibsondunn.com
                                        200 Park Avenue, 47th Floor
                                        New York, NY 10166-0193
                                        Tel: 212.351.4000

                                        TIMOTHY W. LOOSE
                                          (pro hac vice pending)
                                          tloose@gibsondunn.com
                                        333 South Grand Avenue
                                        Los Angeles, CA 90071-3197
                                        Tel: 213.229.7746




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